 IN THE UNITED STATES BANKRUPTCY COURT FOR THE MIDDLE DISTRICT OF TENNESSEE


RE:                                                     )
                                                        )         CHAPTER:             7
DAINON TARQUINIUS SIDNEY                                )         CASE NO.:            16-05506
SSN: XXX-XX-7845                                        )         JUDGE:               HARRISON
605 LAKEMEADE POINTE                                    )
OLD HICKORY, TN 37138                                   )
                                                        )
   Debtor.                                              )

  ORDER CONTINUING HEARING ON THE OBJECTION TO THE DEBTOR’S MOTION TO
                REOPEN CHAPTER 7 CASE UNTIL MARCH 7, 2017

        THIS MATTER CAME BEFORE THE COURT on February 21, 2017, upon the Objection to the

Debtor’s Motion to Reopen Chapter 7 Case, and the appearance of counsel for all parties in open court. At

the call of the docket the parties announced an agreement to continue this matter until March 7, 2017, at 9:00

a.m. in Courtroom 1, Customs House, 701 Broadway, Nashville, Tennessee.

        IT IS SO ORDERED.

                                                      THIS   ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
                                                      INDICATED AT THE TOP OF THE FIRST PAGE.

APPROVED FOR ENTRY:


/s/ Mary Beth Ausbrooks
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